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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No. 11-cv-02891-PAB-MJW

  DAVID M. SHELTON and
  DESIGNSENSE, INC.,

         Plaintiffs,

  v.

  MRIGLOBAL, a non-profit corporation, formerly Midwest Research Institute
  its National Renewable Energy Laboratory Division, and
  ALLIANCE FOR SUSTAINABLE ENERGY, LLC,

         Defendants.


                                  AMENDED FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         I.         Pursuant to the Order of Judge Philip A. Brimmer entered on September

  28, 2012, it is

         ORDERED that defendants’ motion to dismiss [Docket No. 34] is GRANTED and

  that plaintiffs’ Lanham Act and Copyright Act claims are dismissed for failure to state a

  claim. It is further

         ORDERED that, pursuant to 28 U.S.C. § 1367(c)(3), plaintiffs’ state law claims

  are dismissed without prejudice. Accordingly, it is further

         ORDERED that this case is closed in its entirety.

         II.        Pursuant to the Order [Docket No. 70] of Judge Philip A. Brimmer entered

  on July 8, 2013 it is
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         ORDERED that defendants’ Motion to Amend or Alter the Final Judgment and to

  Extend Deadline for Filing Bill of Costs and Motion for Recovery of Full Costs pursuant

  to 17 U.S.C. § 505 and Fed. R. Civ. P. 54(d) [Docket No. 66] is GRANTED.

  Accordingly, it is

         FURTHER ORDERED that the Final Judgment [Docket No. 64] is amended to

  reflect that defendants may have their costs upon filing a bill of costs. It is

         FURTHER ORDERED that, within 14 days of this Order, defendants may file a

  bill of costs with the Clerk of the Court and a motion for recovery of full costs pursuant

  to 17 U.S.C. § 505. Defendant(s) is AWARDED its costs, to be taxed by the Clerk of

  the Court pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.




          Dated at Denver, Colorado this 9th day of July, 2013.

                                                    FOR THE COURT:
                                                    JEFFREY P. COLWELL, CLERK

                                                      By: s/Edward P. Butler
                                                      Edward P. Butler
                                                      Deputy Clerk
